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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


MAUREISHA CARTER                                          2:18−cv−04536
                                        PLAINTIFF(S)

       v.
GOLDEN STATE FC LLC , et al.

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                                     DEFENDANT(S).
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